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uNiTEo sTATEs oF AMERicA, §§E.H§$i' "iiii.' §§§a§{§
Piaimirr,
vs.
cR. No. 04-20433-3
Tii\/ioTHY JoHNsoN,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a r_e|Mt
date of Thursdav, June 23, 2005, at 2.'00 D.m.. in Courtroom 1, 11th Floor of the
Federa| Bui|ding, l\flemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(i\/) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need for a eedy tria|.
lT lS SO ORDERED this § day ne, 2005.

J. A iEL BREEN \
iT o sTATEs DisTRicT JuDGE

 

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UNITED sTATE D"ISIC COURT - WESRNTE D's'TRCT 0 TNNESSEE

    

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20483 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

